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                                  Instructions for Jury Questionnaire

             You have been selected for consideration to serve as a potential juror for a trial that is
    scheduled to begin on May 20, 2024. You are here today for only one purpose: to fill out a juror
    questionnaire. Once you have completed the questionnaire, you are finished for the day. You will
    receive additional instructions before you leave the courtroom about when to return for jury service
    in this case.

             This questionnaire is designed to determine whether potential jurors can decide this case
    fairly, based solely on the evidence presented at trial and the instructions on the law given by the
    judge. The information that you provide in response to these questions will be given to the Court
    and the parties. When you return for continued jury selection on May 20, you likely will be asked
    follow-up questions about your responses. Filling out the questionnaire now will speed up the
    process when you return for in-person jury selection.

            It is important that you understand that the Court is sensitive to your privacy. The
    information contained in your answers will be used only by the Court and the parties to select a
    fair and impartial jury. The parties are under Court order to maintain the confidentiality of any
    information they learn from reviewing answers to this questionnaire.

            Your answers to the questionnaire are under penalty of perjury, so you must answer them
    truthfully. Please follow the instructions below when answering:

          Answer each question carefully, truthfully, and completely. Your responses should reflect
           your own personal knowledge, beliefs, or opinions. Please keep in mind that there are no
           right or wrong answers. Every person has beliefs and opinions concerning many things.
           You should answer honestly with your true feelings, whatever they may be. Do not assume
           that any of your answers will qualify or disqualify you from serving on the jury.

          Do not consult, confer, or talk with any other person in completing this questionnaire. Your
           answers must be your own, and you may not ask for help in answering the questions.

          Please use blue or black ink. Do not use a pencil.

          Please write your assigned juror number at the top of each page. We ask this so that if a
           page becomes detached from your questionnaire, we are able to match it to the other pages.

          Please answer every question. Do not leave any questions blank. If a question does not
           apply to you in any way, write “N/A.” If you cannot answer a question because you do
           not understand it, write, “Do not understand.” If you do not know the answer to a question,
           write “Do not know.”

          If your answers or explanations to any question will not fit completely in the space
           provided, please complete your answer on the pages provided at the end of the
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                                                                    JUROR NUMBER: _____________


           questionnaire. Be sure to include the question number that corresponds to your answer on
           the explanation sheets.

          Do not write on the back of any page.

           After you have completed the questionnaire, please certify the accuracy of your answers
    by writing your juror number (and not your name) on the final page, and return it to a member of
    the court staff.

            In addition, now that you may be called to serve as a juror in this case, you must follow
    the instructions listed below. That means you must follow these instructions between now and
    when you appear for in-person jury selection in this case. The failure to follow these instructions
    could jeopardize the jury selection process and the fairness of the trial.

          Do not read, watch, or listen to anything related to this case, including but not limited to
           books, magazines, newspapers, the internet, television, radio, podcasts, or social media.

          Do not conduct any research about the case.

          Do not discuss or publicly post anything about this case.

          Do not discuss your possible service as a juror in this case with anyone, including your
           family members, friends, or employer, except as necessary to explain your absence from
           work or home.

           Thank you for your cooperation with these instructions and for your careful and honest
    responses to the questionnaire. Your forthright and full cooperation is of vital importance to the
    administration of justice in this case.



           PLEASE PRINT LEGIBLY - PLEASE USE ONLY BLACK OR BLUE INK
                                  (NO PENCILS)




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                                                                    JUROR NUMBER: _____________


                                      JURY QUESTIONNAIRE

                                          Introductory Questions

    1. Name (First, Last)

    2. Age__________

    3. Juror Number:

    4. Are you able to complete this questionnaire without another’s assistance?


    Yes_____       No_____


    5. What is your place of birth?

    6. What county do you live in? __________________

    7. What city or area of the county?

    8. How long have you lived where you live now?

    9. Where else have you lived in the last 5 years? (include approximate years)




    10. Do you have any loss of hearing, loss of sight or any other medical or physical condition that
        would make it difficult for you to participate as a juror?

           Yes_____         No_____

           If yes, please explain:




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                                                                  JUROR NUMBER: _____________


    11. Are you currently suffering from any psychological or emotional conditions that would have
        an impact on your ability to serve on a jury?

           Yes_____        No_____

           If yes, please explain:




    12. Are you currently taking any medication or other substance that would have an impact on your
        jury service?

           Yes_____        No_____

           If yes, please explain:




    13. Do you have any problems understanding or reading the English language that would make
        jury duty difficult?

           Yes_____        No_____

           If yes, please explain:




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    14. Trial in this case is expected to begin on May 20, 2024, and to continue for [4–6 / 8-10] weeks.
        The jury will sit on Monday through __________ from _____ a.m. to _____ p.m. The Court
        is aware that this is a demanding schedule. However, in fairness to all involved in this
        important process, the Court will only excuse someone from jury duty for the most compelling
        reasons. In other words, answering “yes” to this question will not necessarily result in the
        Court excusing you from jury service. With this in mind, does the schedule described above
        impose a special hardship on you such that it would be difficult or impossible for you to serve
        in this case?

           Yes_____        No_____

           If yes, please explain:




    15. Are you the sole or primary caretaker of a minor child, or an elderly or disabled family member
        or dependent whose care would interfere with your ability to serve as a juror in this trial?

           Yes_____        No_____

           If yes, please explain:




                                        Background Information

    16. What is your marital status? (check all that apply)

           _____Single and never married
           _____Married
           _____Living with significant other or domestic partner
           _____Separated or divorced
           _____Widow or Widower




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    17. Check the highest level of education for you and your spouse/significant other:

                                                You                       Spouse/Significant Other
           Grade school or less                 __________                __________
           Some high school                     __________                __________
           High school graduate                 __________                __________
           Technical or vocational school       __________                __________
           Some college                         __________                __________
           College degree                       __________                __________
           Law degree                           __________                __________
           Medical degree                       __________                __________
           Master’s degree (and describe field) __________                __________
           Doctoral degree (and describe field) __________                __________

    18. If you have children or stepchildren, please list them:

     Age      Gender     Lives     Educational Level              Occupation
                         with you?




    19. What is your work status? (check all that apply)

           _____Employed full time
           _____Employed part time
           _____Full- or part-time volunteer
           _____Self-employed
           _____Unemployed
           _____Retired
           _____Unable to work due to disability
           _____Work in the home
           _____Full- or part-time student
           _____Other (please specify)



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                                                                             JUROR NUMBER: _____________


    20. Please fill in the chart below describing your work history. If you are not currently working,
        begin with your most recent job. In describing your duties and responsibilities, please include
        whether you were responsible for hiring, firing, managing, supervising, or disciplining other
        employees:

     Employer                Job                         Years in job         Duties and responsibilities
                                                         (e.g., 2019-2021)




    21. If you live with someone (other than children or stepchildren listed in response to Question
        No. 18 above) who is employed in any capacity, please state their employer, occupation, and
        responsibilities:



    22. Do you own or rent your home?

           Own_____        Rent_____      Other _____

       If you selected “other,” please elaborate further:




    23. Have you, your spouse/partner, or any family member ever served in any branch of the
        Armed Forces?

           Yes_____        No_____

           If yes, please explain who served, his/her rank, and approximate years of service:




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                                                                    JUROR NUMBER: _____________


    24. Please name three people whom you admire the most, and explain why:

        Name                             Reasons
        1.

        2.

        3.


    25. Please name three people whom you admire the least, and explain why:

        Name                             Reasons
        1.

        2.

        3.


    26. What hobbies, interests, or activities do you enjoy in your spare time?




                          Organizational Affiliations and Civic Involvement

    27. Please list any organizations to which you or your spouse/partner belong, or in which you
        participate, or to which you have donated money, either now or in the last 5 years. Please
        include any civic, social, religious, charitable, volunteer, political, sporting, professional,
        business, union, fraternal, and recreational groups.

     You




     Spouse/Partner




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    28. Have you, your spouse/partner, a family member, or a close friend ever worked for a candidate
        for elected office or an elected official, in any capacity (volunteer or paid)?

           Yes_____        No_____

           If yes, please explain:




    29. Have you, your spouse/partner, a family member, or a close friend ever worked for,
        volunteered for, attended a fundraiser for or made a campaign contribution to a candidate for
        elected office (state-wide or federal office), a political campaign, or to a political action
        committee?

           Yes_____        No_____

           If yes, please explain:




    30. Have you, your spouse/partner, a family member, or a close friend ever attended a political
        rally in connection with a candidate running for elected office (state-wide or federal office)?

           Yes_____        No_____

           If yes, please describe the rally and when and where it occurred:




    31. Have you, your spouse/partner, a family member, or a close friend ever run for, or held, elected
        office in a city, county, state, or federal government?

           Yes_____        No_____

           If yes, please explain:




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                                                                   JUROR NUMBER: _____________


   32. Are you registered to vote?

      Yes_____ No_____

   33. If you responded “yes” to the prior question, are you registered with a particular party
       affiliation?

      Yes_____ No_____

   34. Did you vote in the 2020 Presidential election?

      Yes_____ No_____

   35. In the last five years, have you displayed a bumper sticker or magnet on your car?

          Yes_____        No_____

          If yes, please explain:




                                            Legal System

   36. Have you ever served as a member of a grand jury?

          Yes_____        No_____

          If yes, please explain when/where, and whether you were the foreperson:




   37. If your answer to the previous question was “yes,” was there anything about your experience
       as a grand juror that left you disappointed or dissatisfied with our justice system, or that
       makes you want to serve or not want to serve on a trial jury?

          Yes_____        No_____

          If yes, please explain:




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   38. Have you ever served as a member of a trial jury before?

          _____Yes, for a criminal case, _____ times
          _____Yes, for a civil case, _____ times
          _____No

   39. If yes, were you ever the foreperson?

           Yes_____       No_____

   40. If you served as a trial juror in a criminal case, what type of crime was charged?



   41. If the answer to Question No. 33 was “Yes,” did the jury reach a verdict? (please do not
       reveal what the verdict was)

           Yes_____       No_____

   42. If your answer to Question No. 33 was “Yes,” was there anything about your experience as a
       trial juror that left you disappointed or dissatisfied with our justice system, or that makes you
       want to serve or not want to serve on another trial jury?

          Yes_____        No_____

          If yes, please explain:




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   43. Have you, your spouse/partner, a member of your family, or a close friend, ever been the victim
       of, or witness to, a crime, whether or not that crime was reported to law enforcement?

             Yes_____        No_____

             If yes, please fill in the chart below. The first line is an example.

    Who                   Victim or witness?     Type of crime        Was it reported?   Outcome
    Sister                Witness                Robbery              Yes                Never caught
                                                                                         robber




             How did you feel about how the police or law enforcement handled the incident(s)?




   44. Have you, your spouse/partner, a member of your family, or a close friend ever received a
       subpoena, either for personal appearance in court or to produce documents?

             Yes_____        No_____

             If yes, please explain:




   45. Have you, your spouse/partner, a member of your family, or a close friend ever had property
       searched by law enforcement with a search warrant?

             Yes_____        No_____

             If yes, please explain:




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          If yes, what was your opinion of the manner in which law enforcement conducted the
          search?




   46. Have you, your spouse/partner, a family member, or a close friend, ever been:

      Accused of, arrested for, or charged with a crime?       Yes_____          No_____

      Convicted of a crime?     Yes_____        No_____

      If yes to either of the above, please provide the following information:

    Relationship         Type of crime investigated or         Outcome
    (self, spouse, etc.) charged




          What was your opinion of how fairly the individual(s) mentioned above were
          treated? / Did the matter(s) referenced above cause you to form an opinion about
          the police, law enforcement, or our criminal justice system?




   47. Have you, your spouse/partner, a family member, or a close friend worked in law enforcement,
       whether state, local, or federal?

          Yes_____       No_____

          If yes, please explain who, which law enforcement agency, and approximate dates of
          employment:



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   48. Have you, your spouse/partner, a family member, or a close friend ever worked as or applied
       for work as a lawyer, paralegal, or investigator in a legal office, including for a prosecutor or
       criminal defense attorney, or for a judge or in a court?

          Yes _____        No_____

          If yes, please explain and include approximate dates of employment:




   49. If you have negative views about any of the following, please explain:

          Law enforcement officers (including the FBI):


          Federal prosecutors:



          Criminal defense attorneys:



          Judges:



          Politicians:




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   50. Do you know anything about the process to obtain a security clearance for access to classified
       information?

          Yes_____        No_____

          If yes, please explain what you know and how you learned it:



   51. Have you ever received any training on the handling of classified information or the law
       governing classified information?

          Yes_____        No_____

          If yes, please explain when, where, and who provided the training:



   52. Do you, your spouse/partner, a family member, or a close friend currently hold a security
       clearance for access to classified information?

          Yes_____        No_____

          If yes, please explain who, what level of clearance, and when the person received it:




   53. In the past, have you ever held a security clearance for access to classified information?

          Yes_____        No_____

          If yes, please explain what level of clearance and when you held it:




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                             Sources of News and Social Media Activity


   54. What are your main sources of news and commentary? (check all that apply) / (please rank
       all that apply, with your primary source as number 1)

   _____ABC News                                      _____Politico
   _____Breitbart News                                _____Slate
   _____CBS News                                      _____The Daily Caller
   _____CNN                                           _____The Miami Herald
   _____Drudge Report                                 _____Treasure Coast News
   _____FOX News                                      _____The New York Times
   _____Huffington Post                               _____The Patriot Post
   _____Mother Jones                                  _____The Tucker Carlson Network
   _____MSNBC                                         _____The Wall Street Journal
   _____National Public Radio (NPR)                   _____USA Today
   _____NBC News                                      _____The Washington Post
   _____Newsmax                                            Sunrise City News
   _____NewsNation                                         I don’t follow the news
   _____One America News (OAN)
   _____PBS

   55. What other sources, if any, do you rely on for news and information?



   56. Do you listen to or watch podcasts?

      Yes_____ No_____

      If yes, please describe which podcasts:




   57. Do you listen to talk radio?

      Yes_____ No_____

      If yes, please describe which programs:




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   58. Please indicate which social media platforms you view, or on which you have an account,
       and indicate how often you check them. (check all that apply)

    _____Facebook                _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days

    _____Gettr                   _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days

    _____Instagram               _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days
    _____Snapchat                _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days

    _____Truth Social            _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days

    _____X (formerly Twitter)    _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days
    _____Threads                 _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days

    _____Other (specify):        _____Multiple times a day        _____Once in a while
                                 _____Once a day                  _____Almost never
                                 _____Every few days




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   59. Have you ever appeared on any television or radio news or politics program, or any news or
       politics podcast (including through a viewer/listener call-in)?

          Yes_____        No_____

          If yes, please explain:




   60. Have you ever written or been quoted in any newspaper article, news magazine article, media
       report, book, or other published work?

          Yes_____        No_____

          If yes, please explain:




                           Knowledge of Trial Participants and the Case

           This questionnaire is for jury service in the trial of United States vs. Donald J. Trump, et
   al. The defendants in the trial are former President Donald J. Trump, Mr. Waltine Nauta, and Mr.
   Carlos De Oliveira, all of whom are presumed innocent. The trial will concern the alleged
   unauthorized possession by former President Trump of national defense information at the Mar-
   a-Lago Club in Palm Beach, Florida; and alleged obstruction by all three defendants of the
   government’s investigation of the same. There has been media coverage of this case, and there is
   nothing wrong with having heard or read something about the defendants or the case. Please
   remember, though, that your answers to this questionnaire are under penalty of perjury, and
   you must truthfully and fully answer the following questions concerning your knowledge about
   the case and the trial participants.

   61. The defendants in this case are former President Donald J. Trump, Mr. Waltine Nauta, and Mr.
       Carlos De Oliveira. Have you met or had any personal, social or professional contact with any
       of these defendants or any of their family members?

          Yes_____        No_____

          If yes, please explain:




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   62. Have you heard or read anything about the charges against former President Donald J.
       Trump in this case?

          Yes_____        No_____

          If yes, please explain:



   63. Have you heard or read anything about Mr. Waltine Nauta?

          Yes_____        No_____

          If yes, please explain:



   64. Have you heard or read anything about Mr. Carlos De Oliveira?

          Yes_____        No_____

          If yes, please explain:



   65. Have you, your spouse/partner, a family member, or a close friend ever worked for / at or done
       business with any of the following Trump properties in Florida, or at any other Trump
       properties? (check all that apply)

          _____Mar-a-Lago Club
          _____Trump International Beach Resort Miami
          _____Trump Grande
          _____Trump Tower Sunny Isles
          _____Trump Hollywood
          _____Trump International Golf Club West Palm Beach
          _____Trump National Doral Miami
          _____Trump National Golf Club Jupiter
          _____Other Trump property (specify which)

          If yes, please explain:




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   66. Are you a resident, property owner, or member at any of the Trump properties listed
       above?

      Yes_____ No_____

          If yes, please explain:



   67. Donald J. Trump is a well-known public figure. Do you have any opinions, feelings, or beliefs
       about Mr. Trump?

          Yes_____        No_____

          If yes, please explain:




   68. Do you have any opinions about those who work for Mr. Trump?

          Yes_____       No_____

          If yes, please explain:




   69. During the pendency of this case (i.e., since June 2023), have you posted any comments on
       social media about Mr. Trump, this investigation, or this case?

          Yes_____       No_____

          If yes, please explain which social media and describe the post:




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   70. During the pendency of this case (i.e., since June 2023), to your knowledge has your
       spouse/partner, a family member, or a close friend posted any comments on social media
       about Mr. Trump, this investigation, or this case?

          Yes_____       No_____

          If yes, please explain who posted, which social media, and describe the post:




   71. Do you believe the 2020 U.S. presidential election was stolen?

          Yes_____        No_____        Not sure

          If not sure, please explain:



   72. Do you have any opinions, feelings, or beliefs about the U.S. Department of Justice or the
       FBI?

          Yes_____       No_____

           If yes, please explain:




   73. Have you seen, read about, or heard about the allegations against the defendants in this case?

          Yes_____        No_____

           If yes, please explain, including how closely you follow the media coverage about this
   case (e.g., weekly news feeds online and on television):




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   74. How would you describe the amount of media coverage you have seen or heard about
       this case?

      _____A lot (many articles, feeds, television stories, and/or radio coverage)
      _____A moderate amount (basic coverage in the news)
      _____A little (basically just heard about it, but haven’t read or followed much)
      _____None (never heard of case before today)

   75. Have you read about or heard about the FBI’s execution of a search warrant at the Mar-
       a-Lago Club in August 2022?

         Yes_____       No_____

         If yes, please describe what you have read or heard:




   76. If your answer to the previous question was “Yes,” do you have any opinions about the
       FBI’s execution of the search warrant?

         Yes_____       No_____

         If yes, please explain:




   77. Have you seen, read about, or heard about any statements by Mr. Trump about this
       investigation?

         Yes_____       No_____

         If yes, please describe the statements and how you learned about them:




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   78. If your answer to the previous question was “Yes,” what is your opinion about Mr.
       Trump’s statements?




   79. Have you seen, read about, or heard about any statements by Mr. Trump about the
       Special Counsel’s Office or the Special Counsel, Jack Smith?

         Yes_____       No_____

         If yes, please describe the statements and how you learned about them:




   80. If your answer to the previous question was “Yes,” what is your opinion about Mr.
       Trump’s statements?




   81. Do you believe that the investigation or prosecution of Donald J. Trump by the
       Department of Justice and the FBI is unfair?

         Yes_____       No_____        I don’t know_____

         If yes, please explain / Please explain:




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   82. Do you believe that Mr. Trump, Mr. Nauta, or Mr. De Oliveira is being treated unfairly
       by the court system?

          Yes_____        No_____       I don’t know_____

          If yes, please explain: / Please explain:




   83. Have you done any online research about the allegations against the defendants in this case?

          Yes_____        No_____

          If yes, please describe what you have researched and learned:




   84. Do you have any concerns about the reactions of your friends, family, or community to
       your service as a juror on this case?

          Yes_____        No_____
          If yes, please explain:




   85. Members of the jury in this case will have to render a verdict based on the evidence
       presented at trial and the instructions on the law that the Court provides, and must
       disregard and put out of mind any potential consequences of their verdict, one way or
       the other. Do you have any concerns about being able to follow this rule?

          Yes_____        No_____       Maybe

          If yes or maybe, please explain:




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   86. Do you have any opinions or concerns about a former President of the United States being
       charged with a crime?

          Yes_____       No_____

          If yes, please explain:



                                         Final Questions

   87. An indictment is not evidence. It is a document that sets forth the charges made against
       a defendant; it is an accusation. It may not be considered as any evidence whatsoever of
       a defendant’s guilt. Can you think of any reason that would interfere with your ability
       to follow and apply this principle of law?

          Yes_____       No_____

   88. A defendant is presumed innocent and cannot be found guilty unless the jury,
       unanimously and based solely on the evidence in this case, finds that the government has
       proven his guilt beyond a reasonable doubt. The burden of proving guilt rests entirely
       with the government. The defendant is not required to prove his innocence. Can you
       think of any reason that would interfere with your ability to follow and apply these
       principles of law?

          Yes_____       No_____

   89. The United States has the burden of proving its case beyond a reasonable doubt as to
       each defendant and each individual count on the indictment separately.

          a. If the United States proves a defendant’s guilt beyond a reasonable doubt, the
             defendant must be found guilty. Can you think of any reason that would interfere
             with your ability to follow and apply this principle of law?

          Yes_____       No_____




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          b. If the United States fails to prove a defendant’s guilt beyond a reasonable doubt,
             the defendant must be found not guilty. Can you think of any reason that would
             interfere with your ability to follow and apply this principle of law?

          Yes_____        No_____

   90. If selected as a juror in this case, you must consider the case of each defendant separately
       and individually. If you find any defendant guilty of one crime, that must not affect your
       verdict for any other crime, or any other defendant. Are you willing and able to follow
       this instruction?

          Yes_____        No_____

          If no, please explain:




   91. Similarly, if selected as a juror in this case, you must consider the case of each defendant in
       this case based solely on the evidence presented to you and the instructions on the law that the
       Court gives you. You may not decide the case of these defendants based on whether other
       individuals have or have not been charged, or on opinions you may have about whether
       other individuals should or should not be charged with similar crimes. Are you willing
       and able to follow this instruction? / Would you be able to assess the evidence as against
       each defendant separately and potentially render a verdict against one defendant but not
       others?

          Yes_____        No_____

          If no, please explain:




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   92. Jurors are the sole judges of the facts. However, the jury must follow the principles of law as
       instructed by the judge, including the Court’s instructions on reasonable doubt and the
       presumption of innocence. The jury may not follow some rules of law and ignore others.
       Even if jurors disagree with or dislike the rules of law or do not understand the reasons for
       some of the rules, it is their duty to follow them. Are you willing and able to follow the law
       as the Court instructs you in this case?

          Yes_____        No_____

          If no, please explain:



   93. One instruction the Court will give you is that the defendants in this case have the
       absolute right not to testify. However, one or more defendants may nevertheless elect to
       testify. If one or more defendant testifies but others do not, would you have an opinion
       about the guilt of a defendant who does not testify?

          Yes_____        No_____

          If yes, please explain:



   94. Could you impartially consider the evidence of this case irrespective of a defendant’s
       motive?

          Yes_____        No_____

          If no, please explain:



   95. If selected as a juror, you will not be allowed to discuss anything about this case with anyone
       outside of the courtroom, including your closest family and friends. Are you willing and able
       to follow this rule as the Court instructs you?

          Yes_____        No_____

          If no, please explain:




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   96. If selected as a juror, for the duration of the trial you will not be permitted to read or listen to
       any news about the case, or search for any information related to it. Are you willing and able
       to follow this rule as the Court instructs you?

          Yes_____         No_____

          If no, please explain:




   97. Would any of your religious, philosophical, or moral beliefs prevent you from sitting in
       judgment of another person or deliberating with others?

          Yes_____         No_____

          If yes, please explain:




   98. Have you ever changed your mind about an important decision you had to make in your
       life?

          Yes_____         No_____

          If yes, please give a specific example or examples:




   99. Is there any other reason, or any information not otherwise covered by this questionnaire—
       including anything else in your background, experience, employment, training, education,
       knowledge, or beliefs—that would affect your ability to reach a verdict based solely on the
       evidence presented to you and the instructions on the law that the Court gives you?

          Yes_____         No_____

          If yes, please explain:




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   Additional space: (please include the question numbers corresponding to your answers)




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                                          CERTIFICATION

            By signing below, I, ______________________, hereby declare under penalty of perjury
   that all of the answers to the above questions are true and correct to the best of my knowledge and
   belief. I have not discussed my answers with others, or received assistance in completing the
   questionnaire. I have answered all of the above questions myself.



          Date                                          Juror Number / Signature




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